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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                           )
PEDRO LOPEZ; ABEL CANO;                    )
KEVIN SLEDGE; CHARLES DEJESUS;             )
RICHARD BROOKS; ROBERT ALVAREZ,            )
MARISOL NOBREGA; SPENCER TATUM; THE        )
MASSACHUSETTS HISPANIC LAW                 )
ENFORCEMENT ASSOCIATION; INDIVIDUALLY      )
AND ON BEHALF OF A CLASS OF INDIVIDUALS    )
SIMILARLY SITUATED,                        )
           Plaintiffs                      )
                                           )
v.                                         )
                                           ) Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS;           )
CITY OF METHUEN, MASSACHUSETTS;            )
COMMONWEALTH OF MASSACHUSETTS;             )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH         )
OF MASSACHUSETTS, HUMAN RESOURCES          )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS    )
CAPACITY AS MAYOR OF THE CITY OF           )
LAWRENCE, MASSACHUSETTS;                   )
WILLIAM MANZI, III, IN HIS CAPACITY AS     )
MAYOR OF CITY OF METHUEN,                  )
MASSACHUSETTS; CITY OF LOWELL,             )
MASSACHUSETTS; WILLIAM F. MARTIN, IN HIS   )
CAPACITY AS MAYOR OF THE CITY OF LOWELL, )
MASSACHUSETTS; CITY OF WORCESTER,          )
MASSACHUSETTS; and KONSTANTINA B. LUKES, )
IN HIS CAPACITY AS MAYOR OF THE CITY OF    )
WORCESTER, MASSACHUSETTS,                  )
            Defendants                     )
___________________________________________)


        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2) FOR
            MOTION TO AMEND COMPLAINT (Docket Entry No. 30)

      I hereby certify that the parties have complied with the requirements of Local

Rule 7.1(a)(2), and have conferred and attempted in good faith to resolve or narrow the




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issue. Counsel for Defendants has stated that they do not oppose Plaintiffs’ Motion to

Amend Complaint filed with Court on January 15, 2008.


                                                         Respectfully submitted,


                                                         ABEL CANO, PEDRO LOPEZ,
                                                         KEVIN SLEDGE, CHARLES DEJESUS,
                                                         RICHARD BROOKS, ROBERT ALVAREZ,
                                                         MARISOL NOBREGA, SPENCER TATUM,
                                                         THE MASSACHUSETTS HISPANIC LAW
                                                         ENFORCEMENT ASSOCIATION,
                                                         INDIVIDUALLY AND ON BEHALF OF A
                                                         CLASS OF INDIVIDUALS SIMILARLY
                                                         SITUATED,

                                                         By their attorneys,

Dated: January 23, 2008                                  s/Harold L. Lichten___
                                                         Harold L. Lichten, BBO #549689
                                                         Shannon Liss-Riordan, BBO #640716
                                                         Leah M. Barrault, BBO # 661626
                                                         Pyle, Rome, Lichten, Ehrenberg
                                                                & Liss-Riordan, P.C.
                                                         18 Tremont St., Ste. 500
                                                         Boston, MA 02108
                                                         (617) 367-7200


                                         CERTIFICATE OF SERVICE

        I hereby certify that a copy of plaintiffs’ Motion to Amend the Complaint (Docket
Entry No. 30) was served upon the Court and counsel of record via the Court’s ECF
filing system on January 15, 2008, and the foregoing document was served upon the
Court and counsel of record for defendants via the Court’s ECF filing system, on
January 23, 2008.

                                                         s/Harold L. Lichten_____________
                                                         Harold L. Lichten




Cindy/legal/Harold/Promotional Exam/Cert LR 7.1-motion to amend complaint-Jan 23 08




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